Case 8:22-cv-01562-JWH-KES Document 136 Filed 02/29/24 Page 1 of 1 Page ID #:3106
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                                         February 29, 2024

     VIA EMAIL AND ECF

     Hon. Karen E. Scott
     Ronald Reagan Federal Building and United States Courthouse
     Courtroom 6D
     411 W. Fourth St.
     Santa Ana, CA 92701
     E-mail: KES_Chambers@cacd.uscourts.gov

                    Re:    Sara Safari, et al. v. Whole Foods Market Services, Inc., et al.
                           Central District of California, Case No. 8:22-CV-01562-JWH-KES

     Dear Judge Scott,

     Pursuant to the meet and confer call held by defendants Whole Foods Market Services,
     Inc. (“WFM Services”), Whole Foods Market California, Inc. (“WFM CA”), and Mrs.
     Gooch’s Natural Food Markets, Inc.’s (“Mrs. Gooch’s”; collectively “Defendants”) and
     plaintiffs Sara Safari, Peymon Khaghani (“Khaghani”; collectively, “Plaintiffs”),
     Defendants have agreed to withdraw their confidentiality designations placed on
     Plaintiffs’ Exhibits to Supplemental Letter Brief for Telephonic Conference (ECF Nos.
     133-3 and 133-4) which were temporarily sealed from public view pending ruling on
     Defendants’ Motion for Sanctions.

     Defendants also write to inform the Court that they will no longer be filing a Motion for
     Sanctions against Plaintiff, and the Court’s telephonic hearing set for March 20, 2024
     will no longer be necessary.

     Very truly yours,

     /s/ David P. Adams

     David P. Adams for
     Blaxter | Blackman LLP

     cc: Brian Blackman, Esq.
         J.T. Wells Blaxter, Esq.
         Gretchen Elsner, Esq.
         Nadia H. Dahab, Esq.
         David Sugerman, Esq.
         Paige Tomaselli, Esq.
